974 F.2d 1332
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of AMERICA, Plaintiff-Appellee,v.Anthony D. COOPER, Defendant-Appellant.
    No. 91-5363.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  June 30, 1992Decided:  August 31, 1992
    
      Appeal from the United States District Court for the Northern District of West Virginia, at Elkins.  Robert R. Merhige, Jr., Senior District Judge.  (CR-88-84)
      James B. Rich, III, Martinsburg, West Virginia, for Appellant.
      William A. Kolibash, United States Attorney, Thomas O. Mucklow, Assistant United States Attorney, Wheeling, West Virginia, for Appellee.
      N.D.W.Va.
      Dismissed.
      Before SPROUSE, LUTTIG, and WILLIAMS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Anthony D. Cooper noted this appeal outside the ten-day appeal period established by Fed.  R. App.  P. 4(b), and failed to move for an extension of the appeal period within the additional thirty-day period provided by Fed.  R. App.  P. 4(b).  The time periods established by Fed.  R. App.  P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore dismiss the appeal.*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        *
         We deny the motion to withdraw filed by Cooper's counsel
      
    
    